              Case3:06-cr-00428-SI
             Case  3:06-cr-00428-SI Document
                                     Document18
                                              20 Filed
                                                  Filed07/10/2006
                                                        07/12/06 Page
                                                                  Page11ofof22



 1   Mary McNamara, SBN 147131
     SWANSON, McNAMARA & HALLER LLP
 2   300 Montgomery Street, Suite 1100
     San Francisco, California 94104
 3   Telephone: (415) 477-3800
     Facsimile: (415) 477-9010
 4
     Attorneys for I CHING CHU
 5
 6
 7
 8
                                    UNITED STATES DISTRICT COURT
 9
                                  NORTHERN DISTRICT OF CALIFORNIA
10
                                            SAN FRANCISCO DIVISION
11
      UNITED STATES OF AMERICA,                             Case No. 06-0428 SI
12
                               Plaintiff,                   ORDER MODIFYING CONDITIONS
13                                                          OF RELEASE
              vs.
14
      I CHING CHU,
15
                               Defendant.
16
17          On good cause shown, the Court hereby ORDERS the following modifications to the

18   conditions of release for Defendant I CHING CHU:

19          1)      The Defendant shall submit to drug testing as directed by Pretrial Services.

20          2)      The Defendant shall submit to mental health and/or substance abuse counseling as

21   directed by Pretrial Services.

22          3)      The Defendant shall be permitted to have contact with co-defendant Jeffrey Randall

23   Joe, outside the presence of counsel, for the purpose of facilitating his search for verifiable

24   employment. Mr. Joe is permitted to assist Mr. Chu by driving him to employment-related

25   appointments. Mr. Chu shall notify pretrial services when he and Mr. Joe have such contact.

26   ///

27   ///

28   ///
             Case3:06-cr-00428-SI
            Case  3:06-cr-00428-SI Document
                                    Document18
                                             20 Filed
                                                 Filed07/10/2006
                                                       07/12/06 Page
                                                                 Page22ofof22



 1
 2   Dated: 7/12/06
                                                         Hon. Nandor Vadas,
 3                                                       United States Magistrate Judge
 4
 5   Approved as to form:
 6
                 /s/
 7   Mary McNamara
     SWANSON, McNAMARA & HALLER LLP
 8   Attorneys for I CHING CHU
 9
                 /s/
10   Barbara Silano
     Assistant United States Attorney
11   United States Attorney’s Office, Northern District of California
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
     ORDER MODIFYING CONDITIONS OF RELEASE
28   People v. Chu, Case No. 06-0428 SI              2
